      Case 1:19-cv-00605-ALB-SMD Document 9 Filed 09/27/19 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT FOR
                  THE MIDDLE DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

EARLENE PRIDE,                          )
                                        )
            Plaintiff,                  )
                                        )
      v.                                )   Case No. 1:19-cv-605-ALB
                                        )
LOWE’S HOMES CENTERS, LLC,              )
                                        )
            Defendant.                  )
                                        )

                                    ORDER

      This matter comes before the court on Plaintiff Earlene Pride’s Motion to

Remand. (Doc. 6). Upon consideration, the motion is GRANTED, and the Clerk of

Court is DIRECTED to take all necessary steps to REMAND this case to the Circuit

Court of Houston County, Alabama.

      DONE and ORDERED this 27th day of September 2019.


                                         /s/ Andrew L. Brasher
                                    ANDREW L. BRASHER
                                    UNITED STATES DISTRICT JUDGE
